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 9                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
10                                     AT SEATTLE

11      STATE OF WASHINGTON,                                      NO. 2:20-cv-01105

12                                  Plaintiff,                    DECLARATION OF
                                                                  MICHELLE ROBERTS
13               v.

14      UNITED STATES DEPARTMENT OF
        HEALTH AND HUMAN SERVICES;
15      ALEX M. AZAR, in his official capacity as
        the Secretary of the United States
16      Department of Health and Human Services,

17                                  Defendants.

18          I, Michele Roberts declare under penalty of perjury under the laws of the United States

19   of America that the foregoing is true and correct:

20          1.        I am over the age of 18, have personal knowledge of the facts and circumstances

21   in this Declaration, and competent testify in this matter.

22          2.        I am the acting Assistant Secretary for the division of Prevention and Community

23   Health (PCH) at the Washington States Department of Health (DOH). I have held this position

24   since June 1, 2020. Prior to that, I served as the Director of Office of Immunization and Child

25   Profile in PCH for over six years, and as the health promotion section manager in the office for

26   9 years before that, I also completed a fellowship at the Centers for Disease Control and


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 1   Prevention in 2002-2004. I earned a master of public health degree from the Johns Hopkins
 2   University. I also hold a Bachelor of Liberal Arts degree in Biology from Whitman College. I
 3   am a Master Certified Health Education Specialist, and possess 20 years of experience public
 4   health policy and program administration.
 5          3.      As acting Assistant Secretary of Health, I work directly with the Secretary of
 6   Health and members of the agency executive team on high-level policy and strategic issues. I
 7   lead PCH, which includes four offices, more than 200 staff members, and a wide range of
 8   programs and projects. PCH oversees a broad portfolio of services and works extensively with
 9   state, local, tribal, and community partners to improve the health of all Washingtonians. The
10   biennial budget for PCH is $648.9 million, including $390.9 million in federal funding.
11          4.      DOH is Washington’s statewide public health agency. It is within the executive
12   branch, with the Secretary of Health reporting directly to the governor. DOH programs and
13   services help to prevent illness and injury, promote healthy places to live and work, provide
14   information to help people make good health decisions, and ensure our state is prepared for
15   emergencies. PCH has programs and services in the following major areas: injury and violence
16   prevention; reproductive health; maternal and child health; nutrition services; immunizations;
17   and cancer and chronic disease prevention and control.
18          5.      I understand the United States Department of Health and Human Services (HHS)
19   has issued a new regulation entitled “Nondiscrimination in Health and Health Education
20   Programs or Activities, Delegation of Authority,” 85 Fed. Reg. 37160-248 (the “Final Rule”),
21   which was published in the Federal Register on June 19, 2020. As I understand it, the new
22   regulation will restrict the scope of Section 1557 of the Affordable Care Act in certain ways,
23   including but not limited to (1) eliminating protection from healthcare discrimination on the
24   basis of pregnancy termination, sexual orientation, and transgender status and/or gender identity,
25   (2) reducing the number and type of healthcare entities that must comply with the non-
26   discrimination provision of Section 1557, (3) attempting to expand the permissible conscience


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 1   objections, and (4) eliminating the requirement that healthcare entities provide certain
 2   information about the non-discrimination protections and the availability of language assistance
 3   to individuals with limited English proficiency (LEP).
 4          6.      As a result of these changes, the new regulation will result in discrimination by
 5   healthcare providers, administrators of healthcare coverage, and others against women with a
 6   history of pregnancy termination, gay and lesbian individuals, and transgender individuals. As
 7   HHS found in the previous version of the regulation, prohibiting discrimination against
 8   transgender individuals and women with a history of pregnancy termination results in more
 9   transgender individuals and women “obtaining coverage and accessing services.” 81 Fed. Reg.
10   31460. And, as HHS admits in the new regulation, removing these protections will result in at
11   least some healthcare entities declining to provide coverage consistent with the previous version
12   of the regulation. 85 Fed. Reg. 37181.
13          7.      HHS also found in the previous version of the regulation that greater healthcare
14   coverage for transgender individuals and women would result in reduced violence against
15   affected individuals, reduced depression and suicide, and declines in substance abuse, smoking,
16   and alcohol abuse rates. 81 Fed. Reg. 31460. The reverse is also true, and if the new regulation
17   is allowed to take effect, Washington State will bear the cost of these negative health outcomes
18   in the form of paying for subsidized healthcare services for marginalized and lower income
19   Washingtonians.
20          8.      HHS also previously found that transgender individuals who have experienced
21   healthcare discrimination often postpone or do not seek needed healthcare, which may lead to
22   negative health outcomes. 81 Fed. Reg. 31460. Concerns over discrimination in healthcare is
23   one of the major barriers to transgender individuals seeking healthcare services. Id. If allowed
24   to take effect, the new regulation will result in Washingtonians who are transgender or women
25   with a history of pregnancy termination delaying or choosing not to seek preventative healthcare
26   services and other medical services, which will have disastrous long term effects.


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 1            9.       According to the Washington State Office of Financial Management (OFM), the
 2   population of Washington State is approximately 7,656,200 people as of April 1, 2020.1
 3   Declaration of Thea Mounts, ¶ 5.
 4            10.      As of 2018, the Washington State Office of Financial Management (OFM)
 5   estimates that 1,385,380 people in Washington State receive healthcare coverage under a private-
 6   sector employer’s self-insured or self-funded group health plan, and 198,301 Washingtonians
 7   receive healthcare coverage through a healthcare plan that is part of the Federal Employees
 8   Health Benefits Program. Declaration of Thea Mounts, ¶¶ 7, 9.
 9            11.      I understand that, because of provisions of law in the Employee Retirement
10   Income Security Act of 1974 (ERISA) and the Federal Employees Health Care Protection Act
11   of 1998, Washington State laws that prohibit discrimination in healthcare on the basis of
12   pregnancy termination, sexual orientation, and transgender status or gender identity do not apply
13   to these plans. Declaration of Mike Kreidler, ¶¶ 10-14.
14            12.      Because of ERISA and the law applicable to the FEHBP, the healthcare coverage
15   plans of approximately 1,583,681 Washingtonians will not be prevented by Washington State
16   law from discriminating on the basis of pregnancy termination, sexual orientation or transgender
17   status or gender identity. Id. at ¶ 14.
18            13.      A recent study confirms that approximately 0.35% to 1.08% of the Washington
19   population identify as transgender.2 Based on this, DOH estimates that between approximately
20   5,543 and 17,104 of the 1,583,681 Washingtonians have healthcare coverage to which the
21   Washington State law prohibitions on transgender discrimination will not apply.
22

23            1
                Press Release, Washington State Office of Financial Management, Washington tops 7.6 million
24   residents in 2020, available at
     https://www.ofm.wa.gov/sites/default/files/public/dataresearch/pop/april1/ofm_april1_press_release.pdf (last
     visited July 3, 2020).
25
             2
               Flores, et al., How many Adults Identify as Transgender in the United States, Williams Institute, June
26   2016, available at https://williamsinstitute.law.ucla.edu/wp-content/uploads/Trans-Adults-US-Aug-2016.pdf.


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 1            14.      In addition, approximately 5.2% of the population in Washington is lesbian, gay,
 2   or bisexual, 3 so that an additional 82,351 such persons are expected to lose the protection of the
 3   anti-discrimination provisions of Washington law in healthcare if the Final Rule takes effect.
 4   Additionally, there were approximately 54,320 pregnancy terminations in 2014, 2015, and
 5   2016,4 and about 249,845 Washington women aged 15-44 in 2019,5 so that DOH estimates that
 6   at least 20% of women in this age group have had a pregnancy termination, and therefore
 7   hundreds of thousands of women who have had a pregnancy termination will lose protection
 8   from healthcare discrimination on that basis if the Final Rule takes effect.
 9            15.      In 2017, the first year in which the previous version of the regulation was in
10   effect, 95.1% of insurance companies had removed language excluding healthcare related to
11   gender transition.6 Because of this, DOH expects between 5,271 and 16,266 transgender
12   Washingtonians to lose healthcare coverage for transgender healthcare services like hormone
13   therapy and surgical gender transition procedures if the new regulation is allowed to take effect.
14   This does not even include the loss of other healthcare treatment because of discrimination.
15            16.      According to the National Center for Transgender Equality’s U.S. National
16   Transgender Survey of 2015—perhaps the most thorough and definitive source of data about the
17   transgender community in the United States to date, 8% of the 87% of respondents who visited
18

19            3
                LGBT Demographic Data Interactive, January 2019, the Williams Institute of the UCLA School of
     Law, available at https://williamsinstitute.law.ucla.edu/visualization/lgbt-
20   stats/?topic=LGBT&area=53#demographic (last visited July 11, 2020).
              4
21               Jones RK, et al., Abortion Incidence and Service Availability in the United States, 2017, Guttmacher
     Institute, 2019, State Data Table at p. 15, available at
22   https://www.guttmacher.org/sites/default/files/report_downloads/abortion-incidence-service-availability-us-2017-
     tables.pdf (last visited July 11, 2020).
23            5
               Washington State Office of Financial Management, 2019 Data Book, Population, available at
24   https://www.ofm.wa.gov/sites/default/files/public/dataresearch/databook/pdf/population.pdf (last visited July 11,
     2020).
25            6
                Out2Enroll, Summary of Findings: 2017 Marketplace Plan Compliance with Section 1557, available at
     https://out2enroll.org/out2enroll/wp-content/uploads/2015/10/Report-on-Trans-Exclusions-in-2017-Marketplace-
26   Plans.pdf (last visited July 3, 2020).


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 1   a doctor in the preceding year were denied gender transition-related healthcare services.7
 2   Additionally, at least 76% of the 25% who experienced insurance problems were denied
 3   coverage for hormone therapy or surgical procedures related to gender transition.8 These figures
 4   are from 2015, and as such, pre-dated the previous version of the Final Rule. As a result, we can
 5   expect similar figures for denial of services and coverage if the Final Rule takes effect. This
 6   means, in Washington, we can expect from year to year between 367 to 1,132 individuals to be
 7   denied transition-related services from a provider, and we can expect from year to year between
 8   1,002 to 3,090 individuals to be denied coverage for such services, including between 725 and
 9   2,236 for surgical procedures. There will undoubtedly be other losses of healthcare treatment as
10   a result of healthcare discrimination, including denials of other kinds of healthcare services to
11   transgender individuals and denials of healthcare services to lesbian, gay, and/or bisexual
12   individuals and women with histories of pregnancy termination.
13            17.        HHS previously recognized that greater healthcare coverage for transgender
14   individuals and women would result in reduced violence against affected individuals; reduced
15   depression and suicide; declines in substance abuse, smoking, and alcohol abuse rates; and
16   declines in other health disparities resulting from healthcare discrimination. 81 Fed. Reg. 31460.
17   The reverse is also true.
18            18.        According to the National Transgender Survey, 49% of transgender individuals
19   who want to transition were experiencing serious psychological distress, and that figure drops to
20   31% six years after transition and to 24% ten years or more after transition.9 This is supported
21   by the American Medical Association, which found that “individuals with gender dysphoria who
22   have undergone no gender confirmation treatment are twice as likely to experience moderate to
23            7
                National Center for Transgender Equality 2015 U.S. Transgender Survey (“U.S. Transgender Survey”),
24   p. 96, available at https://transequality.org/sites/default/files/docs/usts/USTS-Full-Report-Dec17.pdf (last visited
     July 11, 2020).
25            8
                  U.S. Transgender Survey, p. 95.
26            9
                  U.S. Transgender Survey, p. 107.


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 1   severe depression and four times more likely to experience anxiety than their surgically-affirmed
 2   peers.”10
 3           19.        With approximately 1,369 to 4,222 transgender persons expected to be denied
 4   services or coverage for hormone therapy or transition-related surgery every year, we can expect
 5   the higher rate of 49% to suffer moderate to severe depression, or between 670 to 2,069 new
 6   cases of moderate to severe depression in Washington if the Final Rule takes effect.
 7           20.        We know that depression leads to unemployment and loss of income. 11 Based on
 8   peer-reviewed research in this area, we expect approximately 80 to 248 more lost jobs for every
 9   five year period beginning when the new regulation takes effect. That means at least 320 to 992
10   jobs lost over the next two decades because of depression caused by denial of transgender
11   healthcare services as a result of the new regulation. This does not even include other job losses
12   because of violence against transgender persons or substance abuse, both of which are likely to
13   occur in the absence of healthcare coverage for transgender individuals according to HHS.
14           21.        We also know that fear of discrimination leads transgender persons to delay
15   healthcare. The National Transgender Survey found that 23% of the respondents reported
16   delaying or postponing needed medical care in the previous year because of a fear of
17   discrimination.12 Delayed healthcare has been shown to increase the odds of transgender persons
18   having depression and a suicide attempt by over three times. 13
19
20           10
                 Health insurance coverage for gender-affirming care of transgender patients, https://www.ama-
     assn.org/system/files/2019-03/transgender-coverage-issue-brief.pdf, p. 4 (citing Ashli Owen-Smith, et al.,
21   Association Between Gender Confirmation Treatments and Perceived Gender Congruence, Body Image
     Satisfaction, and Mental Health in a Cohort of Transgender Individuals, 15 J Sexual Med 4, 591-600 (Apr. 2018).
22             11
                  Whooley MA et al., Depressive symptoms, unemployment, and loss of income. The CARDIA Study.,
23   Arch Intern Med 2002 Dec 9/23; 162:2614-20, available at https://pubmed.ncbi.nlm.nih.gov/12456234/ (noting
     results of a 12% increase in new unemployment during the five pear period after reporting substantial depressive
24   symptoms).
             12
                  U.S. Transgender Survey, p. 3.
25
              13
                 Seelman, et al., Transgend Health. 2017; 2(1): 17–28, available at
26   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5436369/ (last visited July 11, 2020).


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 1           22.      Studies also demonstrate that lack of coverage of gender affirming healthcare
 2   services for transgender people leads to greater suicidality among transgender individuals. 14 We
 3   know that, among all Americans over the age of 18, the attempted suicide rate is only about
 4   0.6%.15 And yet, one study shows that 41% of transgender people in the United States have
 5   attempted suicide at least once in their life. 16 But the average rate of suicide attempts drops by
 6   approximately 20% for those who received gender affirming treatment.17 If we assume that 41%
 7   of the transgender individuals who will lose healthcare coverage for transgender healthcare
 8   services as a result of the Final Rule can be expected to attempt suicide once in their lives, and
 9   that half of that number have already attempted it once, then we expect 2,161 to 6,669 people in
10   this group may attempt suicide at least once in the future, and that this number will be 20%
11   higher than it would be if the Final Rule did not take effect and cause them to lose healthcare
12   coverage for gender affirming healthcare services. As a result, we would expect there will be
13   approximately 527 to 1,627 more attempted suicides by transgender persons in Washington State
14   over the next several decades, and, undoubtedly, more successful attempts.
15           23.      The costs of attempted suicide and attempted suicide are substantial. Suicides and
16   attempted suicides have other costs as well. The Centers for Disease Control and Prevention
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             14
                  81 Fed. Reg. 31460-61 (citing California Economic Impact Assessment, Gender Discrimination in
18   Health Insurance, https://transgenderlawcenter.org/wp-content/uploads/2013/04/Economic-Impact-Assessment-
     Gender-Nondiscrimination-In-Health-Insurance.pdf, at 10–12); Suicide Thoughts and Attempts Among
19   Transgender Adults, Findings from the 2015 U.S. Transgender Survey, Williams Institute, Sept. 2019, available at
     https://williamsinstitute.law.ucla.edu/publications/suicidality-transgender-adults/.
20
             15
               Key Substance Use and Mental Health Indicators in the United States: Results from the 2018 National
21   Survey on Drug Use and Health, p. 49, available at https://www.samhsa.gov/data/sites/default/files/cbhsq-
     reports/NSDUHNationalFindingsReport2018/NSDUHNationalFindingsReport2018.pdf (last visited July 11,
22   2020).
             16
23                H.G. Virupaksha, et al., Suicide and Suicidal Behavior among Transgender Persons, Indian J.
     Psychological Med., 2016 Nov-Dec, 38(6): 505-509, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5178031/
24   (last visited July 11, 2020).
             17
                  California Economic Impact Assessment, Gender Discrimination in Health Insurance,
25
     https://transgenderlawcenter.org/wp-content/uploads/2013/04/Economic-Impact-Assessment-Gender-
     Nondiscrimination-In-Health-Insurance.pdf, at 10–12 (last visited July 11, 2020).
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 1   estimates that each hospitalization for a suicide attempt costs $33,000. 18 In Washington, there
 2   were a total of 9,771 suicide attempts reported emergency room visits in 2019 resulting in a net
 3   cost of $322,443,000. However, as this data currently captures only 84% of emergency room
 4   visits in the state, this estimate is projected to be higher for the entire state. 19 But this means that
 5   attempted suicides by transgender persons who are denied healthcare coverage for gender
 6   affirming healthcare services will cost tens of millions of dollars over the next decades if the
 7   Final Rule takes effect.
 8           24.      The Centers for Disease Control and Prevention also estimate that each suicide
 9   death costs an estimated $1.3 million.20 In Washington State there were a total of 1,254 deaths
10   by suicide in 2018, resulting in an estimated cost of just over $1.63 billion. This is likely an
11   underestimate because not all suicide deaths are accurately captured as such. But the point is that
12   the cost of future suicide deaths in Washington State attributable to the loss of gender affirming
13   healthcare services caused by the Final Rule will be in the millions of dollars.
14      EXECUTED on this 12 day of July, 2020 in Seattle, Washington.
15

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18                                                                             ________________
                                                         MICHELE ROBERTS
19                                                       Acting Assistant Secretary, Prevention and
                                                         Community Health, Washington State
20                                                       Department of Health
21
              18
22               Washington State Department of Health. Washington State Suicide Prevention Plan,
     https://www.doh.wa.gov/Portals/1/Documents/Pubs/631-058-SuicidePrevPlan.pdf (last visited July 11, 2020).
23           19
               Data from Emergency Department Surveillance of Nonfatal Suicide-Related Outcomes.
24   https://www.federalgrants.com/Emergency-Department-Surveillance-of-Nonfatal-Suicide-Related-Outcomes-ED-
     SNSRO-76556.html (last visited July 11, 2020).
25           20
                Centers for Disease Control and Prevention. Preventing suicide: a technical package of policy,
     programs and practices. https://www.cdc.gov/violenceprevention/pdf/suicideTechnicalPackage.pdf (last visited
26   July 11, 2020).


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